Case 2:04-cv-02708-.]PI\/|-STA Document 11 Filed 05/25/05 Page 1 of 2 Page|D 17

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IN THE UNITED sTATEs DISTRICT COURT j ja ~- 11

 

FoR THE WESTERN DISTRICT oF TENNESSEE 95 iii »?, ?r. P,;; ,,_ h
WESTERN DIVISION *‘ "3 t “" lt

JAMES L. JoNEs )
)
Plaintiff, )
)

v. ) oler NO. 04-2708 Ml An
)
TENNESSEE AIR NATIONAL GUARD, )
ET AL., )
)
Defendant. )

 

ORDER GRANTING DEFENDANT’S MOTION TO STAY DISCOVERY

 

For the reasons set forth in Defendant’s Memorandum, the court grants the Motion to

Stay Discovery.

SO ORDERED:

This the _M day ofW&] , 2005.
<S.Wm @“_/

Magistrate Judge Tu M. Pham

   

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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

